         Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 1 of 15



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTICT OF MARYLAND

COMPASS MARKETING, INC.                        :
                                               :
               Plaintiff                       :
v.                                             :       Case No. 1:22-cv-00379-GLR
                                               :
FLYWHEEL DIGITAL LLC, et al.                   :
                                               :
               Defendants                      :
                                               :

          DANIEL WHITE’S REPLY IN SUPPORT OF MOTION TO DISMISS

       Defendant Daniel J. White, by and through counsel, Bruce L. Marcus, Esquire, Sydney

M. Patterson, Esquire, and MarcusBonsib, LLC, hereby submits this Reply in support of his

Motion to Dismiss and accompanying Memorandum of Law (ECF 42).

                                PRELIMINARY STATEMENT

       Daniel White moved to dismiss Plaintiff’s claims as time-barred and further moved this

Court to dismiss the RICO claims as inadequately pled, and to decline to exercise its

supplemental jurisdiction over the state law counts, or, in the alternative, to dismiss certain of

those counts for failure to state a claim. Compass’s Opposition 1 (ECF 47) does not cure the

defects outlined in Daniel White’s Motion to Dismiss.

       To compensate for this failure, the Opposition argues in more than one instance that the

White Defendants “do not dispute” or “do not contest” various facts alleged in the Complaint.

As one example, Compass boldly claims that the “White Defendants do not contest the allegation

that Compass was unaware of the injuries allegedly inflicted by the White Defendants until after

February 14, 2019.” Opp. 7. This statement is as irrelevant as it is wrong. In support of it,


1
  Compass’s combined opposition to the White Defendants’ motions to dismiss is cited and
referred to herein as “Opposition.” Daniel White’s Memorandum of Law (ECF 42) is cited as
“Brief” (“Br”).
            Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 2 of 15



Compass offers a citation to page 4 of Daniel White’s Motion, the same page that plainly states

in footnote: “Defendant Daniel White assumes the truth of the well-pleaded factual allegations in

the Complaint solely for purposes of this Motion to Dismiss.” Daniel Br. 4 n.2. Given this

footnote and the well-known standard of review to which it refers, Compass’s specious attempt

to argue that the White Defendants do not contest certain facts is telling.

           For clarity, to the extent Daniel White summarizes or refers to the facts alleged in the

Complaint, he does not adopt them as true. To the contrary, many of the allegations asserted by

Compass are false and contradicted by documentary evidence within Compass’s possession.

Notwithstanding their falsity, Daniel White is constrained to accept these allegations for

purposes of the motion to dismiss.

                                                 ARGUMENT 2

      I.      COMPASS’S CLAIMS ARE TIME-BARRED

        Compass does not allege that it was impossible to have uncovered the White Defendants’

conduct through the exercise of reasonable diligence, but that it was under no obligation to

conduct such a review unless and until it was on inquiry notice. Opp. 8. In doing so, Compass

attempts to overcome their statute of limitations problem by breaking up the component parts of

their RICO claim and addressing only the alleged improper use of corporate funds. Compass

ignores the component which purports to serve as the tenuous linchpin of the alleged RICO

enterprise, to wit, that the White Defendants shared a common purpose of harming Compass to

hide “their acts of facilitating and helping fund the use of the misappropriated Compass trade




2
 In light of Compass’s single consolidated response in opposition to the motions to dismiss filed
separately by Daniel White and Defendants Michael and George White, Daniel White hereby
adopts and incorporates by reference the arguments set forth in Defendant Michael and George
White’s Reply (ECF 49).

                                                    2
         Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 3 of 15



secrets, proprietary business know how, and confidential information by Defendants Flywheel,

DiPaula, and Ascential.” Compl. ¶ 254.

        Compass ignores this critical component of their RICO claim against the White

Defendants because it is indisputable that Compass was on inquiry notice of the alleged trade

secret misappropriation claims in 2014, and thus had an obligation to investigate all potential

claims and potential defendants related thereto. According to the RICO claim, this would have

included the White Defendants’ alleged use of improper corporate funds which was directly

related as part of the same fraudulent scheme. Compl. ¶ 254.

       Compass’s own allegations show that it was on notice of the alleged trade secret

misappropriation claims in 2014, when, among other things, DiPaula and Miller resigned to start

their own company, Compl. ¶ 75, tried to buy the eCommerce Department, Id. ¶¶ 78, 80, and

established Flywheel which became Compass’s “main competitor” offering identical services

and causing “the opportunities available to Compass” to change “drastically,” Id. ¶ 61, while at

the same time P&G stopped responding to Compass, Id. ¶ 197, and nine other Compass clients

terminated contracts with Compass to hire Flywheel. Id. ¶ 317. As a result of these occurrences,

Compass considered legal action in 2014. Id. ¶ 81.

       With regard to misappropriation of trade secrets claims, “knowledge of the termination”

of customer contracts is “sufficient to place [a plaintiff] on notice to investigate how another

company was able to assume the [customer] contract[.]” Dual Inc. v. Lockheed Martin Corp.,

383 Md. 151, 169, 175 (2004). Compass had knowledge of the termination of customer contracts

in 2014 and was therefore on notice of its trade secret misappropriation claims as a matter of law.

Id. Once on notice of these claims, Compass had a duty to investigate all potential claims and

all potential defendants with regard to the injury to Compass. Doe v. Archdiocese, 114 Md. App.



                                                 3
         Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 4 of 15



169, 188 (1997) (“Once on notice of one cause of action, a potential plaintiff is charged with

responsibility for investigating, within the limitations period, all potential claims and all potential

defendants with regard to the injury.”); Poffenberger v. Risser, 290 Md. 631, 637-38 (1981) (a

plaintiff “cannot fail to investigate when the propriety of the investigation is naturally suggested

by circumstances known to him; and if he neglects to make such inquiry, he will be held guilty

of bad faith and must suffer from his neglect.”).

       Because Compass was on notice in 2014 of a key component of the fraudulent scheme

alleged in their RICO claim, Compass was charged with the responsibility to investigate not only

how Flywheel was able to assume Compass contracts, but also “all potential claims and all

potential defendants,” with regard to the harm to Compass, including the alleged improper use of

corporate funds by the White Defendants which was related as part of the same fraudulent

scheme according to the allegations in the Complaint. Id.; Dual Inc., 383 Md. at 169, 175.

           A. The Alleged Fiduciary Relationship Does Not Toll the Statute of Limitations

       The existence of a fiduciary relationship will only “toll the statute of limitations if: (1) the

relationship continued unrepudiated, (2) there is nothing to put the injured party on inquiry, and

(3) the injured party cannot be said to have failed to use due diligence in detecting the fraud.”

Windesheim v. Larocca, 443 Md. 312, n.20 (2015). Compass fails to establish these elements.

       As set forth above, Compass’s own allegations establish that it was on inquiry notice as

early as 2014. Additionally, the Complaint alleges that the alleged fiduciary relationship was

repudiated as of November 23, 2018 when John White fired Daniel White. Compl. ¶ 94. Even if

Compass had established the necessary elements to toll the statute of limitations based on the

fiduciary relationship, Compass’s own allegations dictate that any such tolling would terminate

on November 23, 2018. Lastly, Compass has failed to establish that it exercised due diligence in



                                                    4
         Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 5 of 15



detecting the fraud. Instead, Compass only argues, without success, that it was excused from

doing so by reason of the alleged fiduciary relationship.

           B. The Adverse Domination Doctrine Does Not Apply

       The adverse domination doctrine does not save Compass’s claims from the statute of

limitations. Compass argues the “disinterested majority” version of the adverse domination

doctrine applies here. Opp. 12. This version relies on the presumption that “control of the

association by culpable directors and officers precludes the possibility of filing suit because these

individuals can hardly be expected to sue themselves or initiate action contrary to their own

interests.” Hecht v. Resolution Trust Corp., 333 Md. 324, 347 (1994).

       Here, the Complaint fails to allege in the first instance that the corporation was controlled

by culpable directors and officers. There is no allegation in the Complaint regarding the identity

or number of individuals on the Board of Directors at any time relevant to the Complaint. Even

if alleged, the presumption that control by culpable directors precludes the possibility of filing

suit may be rebutted by evidence that some other individual had knowledge of the cause of

action and the ability and motivation to bring suit. Id.

       In this case, this presumption is easily rebutted by Compass’s own allegations that John

White, the CEO of Compass, did consider bringing claims and had the final authority to do so.

Compl. ¶¶ 81, 89–90, 92. That John White was individually and unilaterally able to fire both

Daniel and Michael White and remove and replace them on Compass’s Board of Directors,

establishes that at all relevant times John White controlled the corporation. Id. ¶¶ 94–95. In

addition to the ability to bring suit if he so desired, John White also had knowledge of the cause

of action as set forth above.




                                                  5
         Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 6 of 15



           C. Alleged Fraudulent Concealment Does Not Toll the Statute of Limitations

       In order to demonstrate that fraudulent conduct by defendants tolls the statute of

limitations, a complaint must specifically allege “how the fraud kept the plaintiff in ignorance of

a cause of action, how the fraud was discovered, and why there was a delay in discovering the

fraud, despite the plaintiff’s diligence.” Porter v. GreenPoint Mortg. Funding, Inc., Civ. A. No.

DKC-11-1251, 2011 WL 6837703, at *6 (Dec. 28, 2011). Compass fails to set forth these

allegations. The Complaint alleges that the White Defendants engaged in fraudulent concealment

by manipulating accounting records but fails to explain why the same was undiscoverable

through the ordinary exercise of reasonable diligence. Compass maintains only that the fraud was

discovered by an alleged forensic fraud examiner but does not detail the steps that would have

been required to discover it, if in fact it was concealed. Compl. ¶¶ 95–97.

       The mere fact that a forensic fraud examiner discovered the alleged misappropriations

does not mean that a fraud examiner was required to do so. Indeed, the Complaint is noticeably

silent as to the reason for hiring a fraud examiner, much less why it followed the allegedly

unrelated termination of Michael White for an unprofessional email, and Daniel White for

reasons not explained. 3 Compl. ¶ 94.

       In sum, Compass attempts to avoid stating that the alleged misappropriations were

undiscoverable through reasonable diligence by stating that they were discovered through a

forensic fraud examination. That a forensic fraud examination was employed says nothing about




3
  Compass alleges that “the Complaint demonstrates that when Michael and Daniel White began
acting in a manner that was openly disruptive to Compass’s business operations, Compass
removed them from the company’s Board of Directors, . . .” Opp. 12. Contrary to this
representation, the Complaint alleges nothing about Daniel White’s disruptive conduct. Compl. ¶
94.

                                                 6
           Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 7 of 15



the acts of concealment nor the ability of Compass to discover the fraud through its own due

diligence over an alleged period of twenty years.

        Given John White’s control of Compass as a majority shareholder, director, and CEO

who was directly involved in and controlled all operations of Compass, John White “cannot

seriously contend” that, prior to February 2019, he was unable to discover the alleged unlawful

activities by which he claims Daniel and Michael White violated RICO. Gross v. Waywell, 628

F. Supp. 2d 475, 500 (S.D.N.Y. 2009) (“A majority shareholder or principal of a corporation

involved in the operations of the business cannot seriously contend that he did not know about or

cold not reasonably have discovered RICO violations he complaints about long after the

expiration of the statute of limitations.”).

     II.    THE RICO CLAIMS FAIL

        Although Compass attempts to recast its RICO claims, the refashioned claims do not

address the pleading defects raised in Daniel White’s motion to dismiss. The RICO claim in

Count III must therefore be dismissed because Compass fails to adequately allege the existence

of both an “enterprise” and a “pattern” of racketeering activity. Accordingly, their RICO

conspiracy claim in Count IV also fails as a matter of law. Br. 7.

                A. Enterprise

        As set forth in the motion to dismiss, the Complaint fails to adequately plead the elements

of a RICO enterprise. Br. 8–9. Compass does not address this argument. Instead, Compass

responds to an argument not raised and brazenly places it in quotation marks although the quoted

language does not appear in Daniel White’s motion. Opp. 14 (“The White Defendants contend

the Complaint fails to identify ‘any specific enterprise among the White Defendants’ at all.




                                                 7
              Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 8 of 15



M&G Br. at 11–12; Daniel Br. at 8–9.”). What Daniel White did argue, 4 and what Compass fails

to address, is that Complaint fails to allege facts or specific allegations regarding the

relationships between any of the Flywheel Defendants, on one hand, and Defendants

Daniel, Michael, and George White, on the other hand, much less “how they function[ed] as

a continuing unit.” Grant v. Shapiro & Burson, LLP, 871 F. Supp. 2d 462, 473 (D. Md. 2013).

             The Opposition makes no attempt to address this argument. Instead, Compass addresses a

RICO enterprise not alleged in the Complaint, one consisting of only Daniel White and Michael

White which entailed a single goal to steal from Compass for their own personal gain rather than

to promote the shared objectives of the racketeering enterprise alleged in Count III comprised of

the White Defendants and Flywheel Defendants.

             At best, the RICO enterprise Compass describes in its Opposition comprises two separate

organizations—the legitimate entity of Compass, of which Daniel and Michael were employees

and which they used as the means to carry out alleged racketeering activities; and the Flywheel

Defendants functioning as a unit to engage in racketeering activities. The Complaint, however,

does not allege two separate RICO enterprises, but one. Compass’s focus on demonstrating only

that Daniel and Michael White allegedly coordinated to engage in predicate acts does not suffice

to show that they were part of an enterprise whose members included the Flywheel Defendants.

See Boyle v. United States, 556 U.S. 938, 947 n.4 (2009) (stating that proof that “several

individuals, independently and without coordination, engaged in a pattern of crimes listed as

RICO predicates” would be insufficient “to show that the individuals were members of an

enterprise.”).




4
    Br. 8.

                                                    8
           Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 9 of 15



         Although Compass now declares in their Opposition that “the RICO enterprise alleged in

the Complaint is Compass itself,” 5 the Complaint fails to allege any information regarding the

hierarchy, organization, and activities of this alleged enterprise to support the allegation that

Flywheel Defendants were members and had operational responsibilities. See Reves v. Ernst &

Young, 507 U.S. 170 (1993) (noting RICO liability under Section 1962(c) requires that a

defendant be a participant “in the operation or management of the enterprise itself.”). According

to the Complaint, Defendants DiPaula and Miller terminated their employment with Compass in

2014 and had no role in the conduct or operation of Compass’s affairs at any point thereafter.

Compl. ¶ 75. As a whole, the Complaint is entirely silent as to the internal workings and

organization of the alleged enterprise, and the conduct and participation of its alleged members.

         The generalized allegations in the Complaint, lacking specific facts showing how all

Defendants acted together as a unit are insufficient to plead a RICO enterprise.

                 B. Pattern

         The fraudulent acts alleged by Compass do not amount to a “pattern” of such conduct by

Daniel and Michael White. Rather, what Compass portrays as a pattern is a single fraudulent

scheme with a single purpose: to steal from Compass for personal gain. See Int'l Data Bank, Ltd.

v. Zepkin, 812 F.2d 149, 154–55 (4th Cir. 1987) (“If the commission of two or more “acts” to

perpetrate a single fraud were held to satisfy the RICO statute, then every fraud would constitute

a ‘pattern of racketeering activity.’”). The alleged participants were Daniel White and Michael

White. The sole victim was Compass. The predicate acts were those of ordinary fraud, using

company assets to pay personal expenses or to make allegedly improper payments to relatives.

No threat of continuing or renewed criminal activity existed at the end of the scheme because



5
    Opp. 14 (emphasis in original).

                                                  9
        Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 10 of 15



Daniel White and Michael White were fired from Compass in 2019 for reasons, according to

Compass, having nothing to do with discovery of the fraud, which Compass alleges occurred

only after they were terminated.

       To accept Compass’s allegations and allow a pattern of racketeering to flow from a

single, limited scheme to defraud such as this one would eliminate the pattern requirement

altogether and “undermine Congress’s intent that RICO serve as a weapon against ongoing

unlawful activities whose scope and persistence pose a special threat to social well-being.”

Zepkin, 812 F.2d at 155.

       Here, there is no indication that Daniel White, acting alone or with Michael White, has

engaged in criminal activities elsewhere, and Compass has not alleged any victims other than

Compass. Compass attempts to conjure other victims from the allegations in the Complaint but

fails to do so sufficient to bolster the limited fraudulent scheme into one “whose scope and

persistence pose a special threat to social well-being.” Zepkin, 812 F.2d at 155. These other

“victims” include Todd Mitchell, a former Compass officer who was allegedly harassed and

defamed, and former clients of Compass whose contracts were allegedly interfered with. Opp. 18

(citing Compl. ¶ 159; 165-68).

       With regard to Todd Mitchell, the Complaint merely alleges that Daniel White reported

to the Department of Labor (“DOL”) that Mitchell embezzled funds. Compl. ¶ 159. The

Complaint does not set forth allegations sufficient to show this report constituted defamation or

harassment. Among other things, the Complaint does not allege the report was false, that it

resulted in harm to Mitchell, or that Mitchell was even aware of it. Rather, the Complaint states

that the DOL investigation into the allegation is ongoing, suggesting that the falsity of the report

is not as clear as Compass argues. Compl. ¶ 161. Even if the Complaint demonstrated



                                                 10
        Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 11 of 15



harassment and defamation of Mitchell, which it does not, it fails to demonstrate how the report

was made “in pursuit of [Daniel and Michael White’s] fraudulent schemes.” Opp. 18. Compass

makes no effort to identify the fraudulent scheme they refer to or state how this conduct was

made in furtherance of it.

       With regard to the Compass clients that were also allegedly “victims” of the fraudulent

scheme, the Complaint fails to demonstrate even remote or speculative injury caused by the

conduct attributed to Daniel White. The Complaint asserts nothing more than that these

companies were allegedly mailed anonymous letters. Compl. ¶¶ 165–68. There is no allegation

regarding the content of the letters nor any attempt to describe how the clients were made

“victims” by virtue of receiving them. To the extent the Opposition now alleges that the letters

interfered with contractual relationships of the companies, the same is not alleged in the

Complaint. The fact that clients received a letter whose contents, if any, are unknown is

insufficient to support an inference of contractual interference.

       Compass alleges that these allegations are sufficient to demonstrate that there is more

than one victim of the alleged RICO scheme and cites CVLR Performance Horses, Inc. v.

Wynne, 524 F. App’x 924, 926 (4th Cir. 2013) as a case where a motion to dismiss was denied

where the defendants’ racketeering activity injured not just the plaintiff corporation but also “that

corporation’s individual employees and insurers.” Opp. 19. The racketeering victims in Wynne,

however, were not limited to the plaintiff’s own employees and insurers as Compass suggests.

       Rather, in Wynne, the defendant was the sole owner of two entities, Rivermont and 1650

Partners, which he used in his fraudulent schemes. 524 F. App’x at 925. Although Rivermont

was not authorized to engage in banking activities under Virginia law, Wynne held it out as a

bank and used it in various ways to facilitate his fraudulent schemes, many of which “targeted



                                                 11
        Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 12 of 15



women in financial distress, who thought he was a banker.” Id. Thus, unlike in this case, the

RICO schemes alleged in Wynne were directed broadly at women in financial distress, as

opposed to a single plaintiff. The court in Wynne addressed in detail the racketeering acts

perpetrated by the defendant on other women victims separate and apart from the plaintiff

corporation CVLR, and its president, Crystal Rivers:

       Wynne also used Rivermont and 1650 Partners in schemes that did not involve
       CVLR or Rivers. For example, Karen Foster, who believed that Rivermont was a
       bank, sought financing from Rivermont in early 2006. Over time, Wynne loaned
       Foster small amounts of money, and Foster came to consider Wynne a friend. In
       August 2006, Wynne convinced Foster to execute a note agreeing to repay him
       $40,000 for the series of small loans he had made and to secure the note with
       Foster's home.
       ....
       Finally, Wynne used Rivermont in a scheme against another acquaintance, Vicki
       Marsh. In November 2006, Wynne bought a certificate of deposit for Rivermont
       from First Bank and Trust Company. He then used his status as a customer of
       First Bank to convince the bank to open a credit line for Marsh, which increased
       her credit score. With Marsh's credit score increased, another bank was willing to
       loan her approximately $500,000, secured by a mortgage on her property on
       Pawley's Island, South Carolina. However, Wynne arranged for the $500,000 to
       be paid to him, not Marsh.
       ....
       Wynne, 524 F. App’x at 926–27.

       Even if Compass had established that Mitchell and certain clients were harmed as they

now claim, neither contractual interference nor defamation are acts of fraud which would render

them victims of racketeering by the alleged enterprise like the third-party victims in Wynne.

       In sum, Compass fails to show any conduct perpetrated by the Defendants apart from the

alleged conduct directed against Compass. The Complaint alleges only a single, limited scheme

to defraud one victim that “does not rise above the routine, and does not resemble the sort of

extended, widespread, or particularly dangerous pattern of racketeering which Congress intended

to combat with federal penalties.” Flip Mortgage Corp. v. McElhone, 841 F.2d 531, 538 (1988).




                                                12
           Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 13 of 15



    III.     THE COURT SHOULD DECLINE TO EXERCISE ITS SUPPLEMENTAL JURISDICTION
             AND DISMISS THE REMAINING STATE LAW CLAIMS

       Compass does not contest that pursuant to 28 U.S.C. § 1367(c)(3), this Court has

discretion to decline to exercise supplemental jurisdiction over Compass’s state law claims their

federal claims are dismissed. Nor does Compass argue why this Court should not heed the

Supreme Court’s admonition that where “federal claims are dismissed before trial . . .the state

law claims should be dismissed as well.” United Mine Workers of Am. V. Gibbs, 383 U.S. 715,

726 (1996). Compass has not alleged any unique aspect of this case which would justify a

departure from district courts’ regular practice of declining to exercise supplemental jurisdiction

over state law claims following the dismissal of a federal RICO claim on which subject matter

jurisdiction had been based. Br. 13 (citing Bhari Info. Tech. Sys. Priv. Ltd. v. Sriram, 984 F.

Supp. 2d 498, 505–06 (D. Md. 2013)).

    IV.      COMPASS IGNORES THE DEFICIENCIES IN ITS STATE LAW CLAIMS

       Compass largely fails to address any of Daniel White’s arguments regarding the

deficiencies in Compass’s state law claims against Daniel White. Br. 13–18.

                A. Fraudulent Concealment/Fraud (Count X)

       Compass fails to demonstrate that the Complaint alleges justifiable and detrimental

reliance on Daniel White’s alleged legal advice. Compass instead advances a circular argument

asserting that Daniel White had a duty to disclose an alleged conflict of interest, which it labels a

“fraudulent omission.” Opp. 24. That Compass contends the legal advice was tainted by a

“fraudulent omission” does not obviate the need to plausibly allege justifiable reliance thereon,

facts tending to show that the omission was made with the intent to deceive, and that but for that

omission, Compass would have taken legal action and escaped the injury it claims to have

suffered. Br. 15 (citing See Hoffman v. Stamper, 385 Md. 1, 32–38 (2005)). The Complaint has


                                                 13
        Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 14 of 15



not alleged these facts and Compass’s Opposition fails to demonstrate otherwise. The allegations

do not satisfy the particularity requirement of Rule 9(b) and fail to state a claim for fraud.

               B. Conspiracy and Aiding and Abetting (Counts XI, XV, XVI, XXI)

       Compass does not dispute that the conspiracy and aiding and abetting counts against

Daniel White must fail upon the dismissal of the substantive underlying tort claims. Br. 14–15,

16 (citing Marshall v. James B. Nutter & Co., 758 F. 3d 537, 541 (4th Cir. 2014)).

       Even if the underlying torts survive dismissal, however, these counts will nevertheless

fail because Compass has failed to show that it has adequately alleged a meeting of the minds

between the alleged conspirators. Br. 15, 17. Compass confirms that it relies only on its

allegations “upon information and belief,” that Daniel White has an undisclosed financial interest

in Flywheel, and that the White Defendants provided financial support to Flywheel. Opp 22.

None of these allegations, however, establish that Daniel White and the Flywheel Defendants

“agreed to work together in concert” as alleged in the conspiracy counts, or “substantial assisted

and encouraged one another” as alleged in the aiding and abetting count.

                                          CONCLUSION

       For the foregoing reasons and those set forth in Daniel White’s Memorandum of Law,

this Court should grant Defendant Daniel White’s Motion to Dismiss.

                                                       Respectfully submitted,

                                                       MARCUSBONSIB, LLC
                                                          /s/ Bruce L. Marcus
                                                       Bruce L. Marcus (Bar No. 06341)
                                                       Sydney M. Patterson (Bar No. 19036)
                                                       6411 Ivy Lane, Suite 116
                                                       Greenbelt, Maryland 20770
                                                       Telephone: (301) 441-3000
                                                       Fax: (301) 441-3004
                                                       bmarcus@marcusbonsib.com
                                                       spatterson@marcusbonsib.com

                                                 14
       Case 1:22-cv-00379-GLR Document 50 Filed 05/31/22 Page 15 of 15




                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 31st day of May, 2022, copies of the foregoing

Motion to Dismiss, supporting memorandum of law, and proposed order were electronically filed

and served on all counsel of record via CM/ECF.

                                                    /s/ Bruce L. Marcus
                                                  Bruce L. Marcus




                                             15
